Case 8:17-cv-02575-CEH-CPT Document 17 Filed 08/23/17 Page 1 of 3 PageID 67



                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF LOUISIANA
                                 MONROE DIVISION

PRISCILLA WADE, individually                  *       CIVIL ACTION
and on behalf of her minor                    *       NO. 17802
children, M.W.                                *
and M.W.                                      *
                                              *       JUDGE JAMES
VERSUS                                        *
                                              *
JUAN MUNOZ and GEICO                          *       MAGISTRATE JUDGE HAYES
GENERAL INSURANCE COMPANY                     *
****************************************************************************************************
          PLAINTIFF’S FIRST SUPPLEMENTAL, AMENDED AND RESTATED
                                           COMPLAINT

       NOW INTO COURT, through undersigned counsel, comes petitioner, PRISCILLA

WADE, individually and on behalf of her minor children, M.W. and M.W., a resident of the

full age of majority and domiciled in Ouachita Parish, State of Louisiana, who respectfully

wishes to file this First Supplemental, Amended and Restated Complaint, which amends

and supplements her original Complaint, which was mistakenly styled as a “Petition for

Damages” in the following particulars:

                                                 I.

       Plaintiff alleges all of the allegations and conditions as stated in her original

Complaint, with the following modifications adopted by reference, with the same force and

effect as if herein set forth at length.

                                                II.

       By adding another paragraph to be number 22 as follows:

       “Plaintiff brings her complaint under federal diversity jurisdiction, 28 U.S.C. 1332,

as the parties are completely diverse in citizenship and the amount in controversy exceeds

$75,000.00.”
Case 8:17-cv-02575-CEH-CPT Document 17 Filed 08/23/17 Page 2 of 3 PageID 68



       WHEREFORE, the premises considered, petitioner prays that there be judgment

entered herein in her favor, in an amount reasonable in the premises, after all delays are

had, and that said judgment in her favor be rendered against JUAN MUNOZ and GEICO

GENERAL INSURANCE COMPANY, individually, jointly, and/or in solido for all injuries,

and compensatory damages in accordance with law, sustained by petitioner, PRISCILLA

WADE, individually and on behalf of her minor children, M.W. and M.W., as a result

of the subject motor vehicular crash, for all cost(s) of court, for judicial interest from the

date of judicial demand until paid, for all expert witness fees, and for all other full, general,

and equitable relief as this Honorable Court may be fit to grant, with petitioner further re-

iterating, re-alleging and re-asserting all allegations of the original Complaint, which was

mistakenly styled as a “Petition for Damages” on file herein as is amended, supplemented,

and restated by this document.

                                                    Respectfully Submitted:

                                                    THE LAW FIRM OF EDDIE CLARK
                                                    & ASSOCIATES, L.L.C.
                                                    1001 Century Blvd.
                                                    Monroe, Louisiana 71202
                                                    Phone: (318) 361-9697
                                                    Fax: (318) 361-9889


                                                    BY: s/Eddie M. Clark
                                                        Eddie M. Clark (Bar Roll No. 29551)

                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the above and foregoing Plaintiff’s

First Supplemental, Amended and Restated Complaint has been served upon all counsel

of record by electronic mail on this 23rd day of August, 2017.

                                       s/Eddie M. Clark
                                        Eddie M. Clark
Case 8:17-cv-02575-CEH-CPT Document 17 Filed 08/23/17 Page 3 of 3 PageID 69
